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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


  UNITED STATES OF AMERICA

  v.                                                        Case No. 8:03-cr-77-T-30TBM

  SAMI AMIN AL-ARIAN, et al.
  ____________________________________


                                              ORDER

         This cause came on for consideration upon an Emergency Motion for Leave to

  Intervene and For Relief from Prior Restraint (Dkt. #1049) filed by various news media

  outlets1 interested in reporting on developments in this highly publicized criminal case.

  These media outlets have requested that the Order of May 11, 2005 (Dkt. #1044), which

  subjects to contempt sanctions any person that visually depicts or verbally describes any of

  the jurors in this case in a way that would reveal the jurors’ identities, be vacated on several

  grounds. Among other things, the media outlets contend that this Order constitutes a “prior

  restraint” on speech which unconstitutionally infringes on their First Amendment rights.2




         1
         The media outlets include Media General Operations, Inc., Tampa Bay Television, Inc.,
  New World Communications of Tampa, Inc., Weekly Planet, Inc., and Times Publishing Co.
         2
            The media outlets also contend that the Order must be vacated because its terms are vague
  and overly broad, it was entered without providing all interested parties with notice and an
  opportunity to be heard, and it was of unlimited duration. Because all of these alleged infirmities
  will have been addressed by the Court upon issuance of this Order, this Court has not addressed the
  validity of these claims.
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         A hearing was held on May 16, 2005, to address the Motion and the issuance of a

  subsequent order that might alleviate those concerns addressed by the media outlets in their

  Motion. The media outlets were informed that the terms of the May 11th Order were quite

  limited, extending only to information that would effectively undermine this Court’s decision

  to maintain an innominate jury during the trial. Reporting on the sex, race, age, religion and

  any other demographic trait remained permissible, as did reporting on all other information

  produced and events that will occur during the trial which do not relate to the identity of the

  jurors. Notwithstanding these assurances, the media outlets persisted and made clear that

  publication of the names of the jurors in this case was their principle concern. Having heard

  the competing arguments of both the news media and the Defendants presented in briefs and

  at the May 16th hearing, this Court finds that its Order of May 11th should be vacated and

  supplanted.

         The Order of May 11th was entered on the eve of voir dire and was intended to

  prevent members of the public from rendering ineffective this Court’s previous decision to

  use an innominate jury. The use of an innominate jury was found to be necessary in this case

  because the Defendants’ Sixth Amendment rights to a fair trial were being endangered by the

  widespread news coverage the case had continued to receive.3 Although some of the

  Defendants initially balked at the Court’s decision to use an innominate jury, their objections


         3
           An innominate jury was also considered necessary to prevent members of the public from
  otherwise subjecting the jurors in this case to unwanted confrontations, harassment and intimidation.
  These concerns are both independent and related to the concerns that the Defendants’ rights to an
  impartial jury is in jeopardy.
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  were withdrawn after an examination of approximately three-hundred and fifty (350)

  completed juror questionnaires demonstrated that some members of the community already

  formed opinions about the case generally and the guilt or innocence of the Defendants

  specifically.

         Notwithstanding the undisputed determination that the Defendants’ Sixth Amendment

  rights to a fair trial would be endangered if the identities of the jurors become known to the

  public, the media outlets intend to publish this information and contend that this Court is

  without legal authority to issue an order protecting juror identities from being disseminated.

  The media outlets’ position is based on two erroneous presumptions: that alternatives to such

  an order exist that would adequately address the threat to the Defendants’ rights to a fair trial

  and that such an order would be ineffective in protecting against this threat.

         The Supreme Court recognized in Nebraska Press v. Stuart, 427 U.S. 539 (1976), that

  the prior restraint on speech protected by the First Amendment is “one of the most

  extraordinary remedies known to our jurisprudence.” 427 U.S. at 562. It also acknowledged,

  however, that “tensions . . . between the right of the accused to trial by an impartial jury and

  the rights guaranteed others by the First Amendment” can exist, and that this tension is

  becoming more extant as the “speed of communication and the pervasiveness of the modern

  news media” increase and proliferate. Id. at 548, 551.

         When faced with tension between these two equally esteemed constitutional rights,

  courts must determine whether alternative measures would be likely to protect against the

  threats to jury impartiality and whether the restriction on speech would effectively prevent

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  such threats. Id. at 562. If no other effective measures exist to remedy the tension and the

  prior restraint would be effective in securing the defendant’s right to an impartial jury, the

  prior restraint may be instituted.

             This Court’s finding that the Defendants’ right to an impartial jury would be

  endangered if the jurors’ identities become public knowledge because of the media’s

  pervasive coverage of the case and the effects such coverage has on the public is beyond

  dispute. The media excess surrounding this case is illustrated by the two hundred and eleven

  news reports about the trial that were published by U.S. news sources within the last ninety

  days,4 as well as the press’ attempts to take pictures of and discuss the case with some of the

  initial prospective jurors that traveled to the courthouse for the commencement of voir dire.

  The juror questionnaires and the evidence Defendants have offered in support of the motion

  to change venue demonstrate that large swaths of the public are influenced by media

  accounts of the case, form conclusions about the Defendants’ guilt or innocence, and

  regularly discuss the news reports and their opinions with friends and neighbors. Indeed,

  neither the Government, the Defendants, nor the media outlets have expressed any doubt as

  to the existence of this “clear and present danger.” See id. at 563.

         Although the media outlets assert that other alternative measures exist which would

  eliminate this danger, this Court is not convinced of these proposed solutions. The media

  outlets contend that this Court could sanction the public from discussing the case with the


         4
            This information was obtained by performing a search in the “United States News”
  database on Westlaw’s online legal research service.
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  jurors or subject the jurors to additional security measures. The suggestion that friends,

  neighbors, co-workers and other persons holding impassioned views would not likely

  confront and pressure the jurors if the jurors’ identities are disclosed in newspapers,

  televisions, internet web sites and internet chat rooms ignores the visceral reaction to this

  case that a considerable portion of the public already has demonstrated. With respect to

  additional security measures, the Defendants have objected to the media outlets’ proposal on

  the grounds that the presence of even more security personnel would only exacerbate the

  problem of jury impartiality. This objection can not be summarily dismissed as meritless.

          The Supreme Court in Nebraska Press also mentioned as alternative measures

  postponement of the trial; warnings to the press, the parties and the jurors; sequestration;

  temporarily closing of the proceedings; and change of venue. Id at 563-565. Some of these

  measures have already been utilized. While the employment of other measures might

  provide additional protection against jury contamination, this Court does not believe that they

  would eliminate the danger to the Defendants’ Sixth Amendment rights in light of the

  pervasive media coverage that follows this case and the particular facts which relate to

  terrorism, the Israeli-Palestinian conflict, top-secret government wiretaps, and many of the

  contemporary religious, social, political, and legal discussions taking place in homes and

  businesses across the country. Other measures such as jury sequestration are simply not

  realistic in light of the anticipated length of the trial, estimated to last from six months to one

  year.



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         When combined with other measures, a temporary restriction on the dissemination of

  juror identities offers the only realistic solution to preserve juror impartiality in this case.

  Because the Defendants’ Sixth Amendment rights to an impartial jury can not be temporarily

  suspended or limited in part, an order prohibiting the temporary disclosure of information

  that Chief Justice Rehnquist noted in KPNX Broadcasting Co. v. Arizona Superior Court,

  459 U.S. 1302, 1308 (1982) to be of relatively slight significance is warranted in this

  extraordinary case. It is therefore

         ORDERED and ADJUDGED that:

         1.     The Emergency Motion for Leave to Intervene and For Relief from Prior

  Restraint (Dkt. #1049) is GRANTED in part and DENIED in part.

         2.     The Order of May 11, 2005 (Dkt. #1044) is hereby VACATED.

         3.     To protect the impartiality of the jurors in this case, no photographs, sketched

  drawings, or other images of the jurors or prospective jurors inside or outside the courtroom

  may be created.

         4.     No written or verbal descriptions of any information that would assist a person

  in determining the identity of a juror or prospective juror may be made. This includes,

  among other things, the physical description, telephone number, address, employer name and

  membership affiliations of each juror or prospective juror. The disclosure of the sex, race,

  age, religion and any other demographic trait of a juror or prospective juror, however, is

  permissible. A general description of the job title (i.e., attorney, engineer, baker, etc.) of a

  juror or prospective juror is also permitted.

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            5.        This Order will remain in effect until the jury returns a verdict.

            6.        Violation of this Order shall be subject to contempt sanctions by this Court.

            DONE and ORDERED in Tampa, Florida on May 17, 2005.




  Copies furnished to:
  Counsel/Parties of Record
  United States Marshal
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